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                                    UNITED STATES DISTRICT COURT
13                         CENTRAL DISTRICT OF CALIFORNIA, WESTERN D IVISION

14
        JENNY LISETTE FLORES, et al.,                     )   Case No. CV 85-4544 DMG (AGRx)
15                                                        )
                 Plaintiffs,                              )
16      - vs -                                            )   [REDACTED] EXHIBITS IN
17                                                        )
                                                              SUPPORT OF PLAINTIFFS’
        JEFFERSON B. SESSIONS, ATTORNEY GENERAL           )
18      OF THE UNITED STATES, et al.,                     )   RESPONSE TO DEFENDANTS’
                                                          )   FIRST JUVENILE COORDINATOR
19               Defendants.                              )   REPORTS VOLUME 5 OF 12 [FILED
20
                                                          )   UNDER SEAL PURSUANT TO
                                                              ORDER OF THE COURT DATED
21                                                            JULY 16, 2018]
22
                                                              [HON. DOLLY M. GEE]
23
                                                              Hearing: July 27, 2018
24                                                            Time: 10 AM
25

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                                        CERTIFICATE OF SERVICE
1
              I, Peter Schey, declare and say as follows:
2

3             I am over the age of eighteen years of age and am a party to this action. I am
4
        employed in the County of Los Angeles, State of California. My business address is
5
        256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.
6

7             On July 19, 2018, I electronically filed the following document(s):
8
           • [REDACTED] EXHIBITS IN SUPPORT OF PLAINTIFFS’ RESPONSE TO
9            DEFENDANTS’ THIRD JUVENILE COORDINATOR REPORTS VOLUME
10           5 OF 12 [FILED UNDER SEAL PURSUANT TO ORDER OF THE
             COURT DATED JULY 16, 2018]
11

12      with the United States District Court, Central District of California by using the
13
        CM/ECF system. Participants in the case who are registered CM/ECF users will be
14
        served by the CM/ECF system.
15

16                                                   /s/Peter Schey
                                                     Attorney for Plaintiffs
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